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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 IN RE:                                            )     Chapter        13
                  Carita Gamble                    )     No.            15-16910
                                                   )     Judge          Cox
                                           Debtor. )     Trustee        Vaughn

                                    NOTICE OF MOTION

To: SEE ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 25th day of September, 2017, at the hour of 10:00 a.m.,
or as soon thereafter as counsel may be heard, a hearing on the attached Motion To Modify
Confirmed Chapter 13 Plan, will be held before The Honorable Jacqueline P Cox, U.S. Bankruptcy
Judge in Room 680, or the courtroom usually occupied by her at the Dirksen Federal Building, 219 S.
Dearborn, Chicago, Illinois, or before any other bankruptcy Judge sitting in her place and stead.

AT WHICH TIME AND PLACE YOU MAY APPEAR IF YOU SEE FIT.

                                  Law Office of Thomas W. Lynch
                                        Thomas W. Lynch
                                      9231 S. Roberts Road,
                                      Hickory Hills, IL 60457
                                        Tel: 708-598-5999
                                       Fax: 708-598-6299


                                  CERTIFICATE OF SERVICE

       I, Thomas W. Lynch, an attorney, on oath, certify that I caused to be served a copy of the
above Notice, together with the attached Motion, to the parties on the attached service list by placing
same in a duly stamped and sealed envelope and depositing same in the United States mail at
Bridgeview, Illinois (as indicated on the attached list) this 1st Day of September, 2017, before 5:00
p.m. and to the parties indicated on the attached list as being served via ECF, electronically via the
Court’s ECF system, this 1st Day of September, 2017.

                                                                      /s/ Thomas W. Lynch _




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       SERVICE LIST

       Via ECF only:
       Tom Vaughn, Chapter 13 Trustee, 55 East Monroe Street, Suite 3850, Chicago, IL 60603
       US Trustee, Region 11, 219 S. Dearborn St., Rm 873, Chicago, IL 60604

       Via the U.S. Postal Service


Ad Astra Rec                           Advanced Urgent Care               Advocate Christ Medical Center
8918 W 21st St. N Suite 200            10 Orland Square Drive             Hope Childrens Hospital
Mailbox: 112                           Orland Park, IL 60462              4440 W 95th Street
Wichita, KS 67205                                                         Oak Lawn, IL 60453
Advocate Medical Group                 Aegis Ambulatory Anes              AFNI
Bankruptcy Department                  PO Box 903                         1310 Martin Luther King Drive
701 Lee Street                         DeKalb, IL 60115                   PO Box 3517
Des Plaines, IL 60016                                                     Bloomington, IL 61702-3517
                                       Alsip Photo Enforcement            American Coradius
Alsip Fire Department
                                       Program                            International
Bankruptcy Department
                                       Customer Service Center            2420 Sweet Home Rd, Ste 150
PO Box 438495
                                       PO Box 42034                       Amherst, NY 14228-2244
Chicago, IL 60643
                                       Phoenix, AZ 85080
American InfoSource LP as              American Web Loan                  Arnoldharris
agent for                              522 N 14th St, Box 130             111 West Jackson B
T Mobile/T-Mobile USA Inc              Ponca City, OK 74601               Chicago, IL 60604
PO Box 248848
Oklahoma City, OK 73124-8848
Associated Recovery Systems            Associated Urological Specialist   Atg Credit
PO Box 469046                          PO Box 516                         1700 W Cortland St Ste 2
Escondido, CA 92046-9046               Bedford Park, IL 60499-0516        Chicago, IL 60622
Bank of America                        Bank of America                    Bank of America
PO Box 15731                           PO Box 851001                      PO Box 15026
Wilmington, DE 19886-5731              Dallas, TX 75285-1001              Wilmington, DE 19850-5026
                                       Blatt, Hasenmiller et al           Bureau of Collection Recovery
BestChoice123
                                       10 S LaSalle St                    7575 Corporate Way
621 Medicine Way Ste 6
                                       Suite 2200                         Minnetonka, MN 55345
Ukiah, CA 95482
                                       Chicago, IL 60606-4440




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Bureau of Collection Recovery         Capital One                    Cash Advance USA
PO Box 9001                           Po Box 30253                   2160 Burton Way
Minnetonka, MN 55345-9001             Salt Lake City, UT 84130       Los Angeles, CA 90022
Cash Yes                              CBE Group                      CBE Group
Suite 508 Marina Towers, Newton       Bankruptcy Department          Bankruptcy Department
Bar                                   131 Tower Park Dr., Ste 100    PO Box 2695
Belize City                           Waterloo, IA 50701             Waterloo, IA 50704
BELIZE
                                      Choice Recovery                Commonwealth Edison
Chapel Hill Condo Association
                                      1550 Old Henderson Rd St       Company
c/o Keough & Moody, P.C.
                                      Columbus, OH 43220             3 Lincoln Centre
1250 E. Diehl Road, Suite 405
                                                                     Attn: Bankruptcy Department
Naperville, IL 60563
                                                                     Oakbrook Terrace, IL 60181
Consultants In Clinical               Cook County State's Attorney   D Duane Brann DPM PC
Pathology                             Bad Check Restitution          16523 S 106th Ct
37416 Eagle Way                       PO Box A3984                   Orland Park, IL 60467-4545
Chicago, IL 60678-1374                Chicago, IL 60690-3984
                                      Direct TV                      Evergreen Emergency Services
Debt Recovery Solution
                                      PO Box 9001069                 Bankruptcy Department
900 Merchants Conc
                                      Louisville, KY 40290           PO Box 428080
Westbury, NY 11590
                                                                     Evergreen Park, IL 60805
Evergreen Emergency Services          Freedman Anselmo et al         GI Associates
Bankruptcy Department                 1771 W Diehl 150               10500 S Cicero
PO Box 128080                         Naperville, IL 60566           Oak Lawn, IL 60453
Evergreen Park, IL 60805
Glenwood Medical Corporation          Home Med Care                  HSBC Retail Services
Obstetrics & Gynecology               8847 W 87th St                 Bankruptcy Department
10735 W 159th St                      Hickory Hills, IL 60457        PO Box 4144
Orland Park, IL 60467                                                Carol Stream, IL 60197-4144
                                      I.C. System, INC               Illinois Collection Service/ICS
I.C. System, INC
                                      P.O.Box 64437                  Illinois Collection Service
444 Highway 96 East
                                      Saint Paul, MN 55164-0437      Po Box 1010
Saint Paul, MN 55164-0437
                                                                     Tinley Park, IL 60477
                                      Illinois Tollway Authority     Illinois Tollway Authority
Illinois Tollway Authority
                                      2700 Ogden Ave                 Bankruptcy Department
P.O. Box 5544
                                      Downers Grove, IL 60515        PO Box 5201
Chicago, IL 60680-5544
                                                                     Lisle, IL 60532-5201




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                                     Levin & Conde                      Linden Oaks Hospital
LA Fitness
                                     35 E Wacker Drive                  PO Box 4070
PO Box 51355
                                     Suite 650                          Carol Stream, IL 60122
Irvine, CA 92619-1355
                                     Chicago, IL 60601
                                     Little Co of Mary Hospital         Little Co of Mary Hospital
Linden Oaks Hospital
                                     Bankruptcy Department              Bankruptcy Department
PO Box 5995
                                     2800 W 95th Street                 PO Box 97677
Peoria, IL 61601-5995
                                     Evergreen Park, IL 60805-2746      Chicago, IL 60678-7677
M.C.O.A                              M.C.O.A.                           Macy's
Village Of Alsip                     Village Of Orland Park             PO Box 183083
Municpal Collections Of America      Municipal Collections Of America   Columbus, OH 43218-3083
Inc                                  Inc
3348 Ridge Rd                        3348 Ridge Rd
Lansing, IL 60438-3112               Lansing, IL 60438-3112
Malcolm S. Gerald & Associates       McGrath Clinic, S.C.               Michigan Avenue Immediate
332 S Michigan Ave                   14400 S John Humphrey Dr.          Care
Suite 600                            Ste 200                            104 S. Michigan Ave, Ste 905
Chicago, IL 60604                    Orland Park, IL 60462-2638         Chicago, IL 60603-5903
Midland Funding                      Municipal Collections of America   National Credit Systems
8875 Aero Dr Ste 200                 3348 Ridge Road                    PO Box 312125
San Diego, CA 92123                  Lansing, IL 60438                  Atlanta, GA 31131-2125
Nationwide Credit & Collections      Nationwide Credit, Inc             Northwestern Skin Cancer
Bankruptcy Dept                      PO Box 26314                       Institute
815 Commerce Drive, Ste 100          Lehigh Valley, PA 18002            737 N Michigan Ave, Suite 2310
Oak Brook, IL 60523                                                     Chicago, IL 60611
                                     Oakcrest Lab                       Oaklawn Radiology Imaging
Nw Collector
                                     10522 S Cicero, Ste 307            Consult
3601 Algonquin Rd Ste 23
                                     Oak Lawn, IL 60453                 37241 Eagle Way
Rolling Meadows, IL 60008
                                                                        Chicago, IL 60678-1372
Palos Community Hospital             Palos Surgicenter                  Penn Credit
Bankruptcy Department                7340 College Drive                 916 S 14th Street
12251 South 80th Ave                 Palos Heights, IL 60463            Harrisburg, PA 17108-0988
Palos Heights, IL 60463
                                     Photo Enforcement Program          Portfolio Recovery
Penn Credit Corp
                                     75 Remittance Drive, Ste 6658      Attn: Bankruptcy
PO Box 988
                                     Chicago, IL 60675                  Po Box 41067
Harrisburg, PA 17108-0988
                                                                        Norfolk, VA 23541




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                                     Radiology Imaging Specialists      Receivables Performanc
QVC
                                     LTD                                20816 44th Ave W
PO Box 2254
                                     39645 Treasury Center              Lynnwood, WA 98036
West Chester, PA 19380
                                     Chicago, IL 60694-9000
Renata Variakojis, MDSC              Ridge Orthopedic & Rehab           Sears/cbna
PO Box 129                           5540 W 111th Street                Po Box 6283
Plainfield, IL 60544-0129            Oak Lawn, IL 60453                 Sioux Falls, SD 57117
                                     Silver Cloud Financial             Speedy Cash
Seterus
                                     635 East Hwy 20, C                 Bankruptcy Department
PO Box 2008
                                     Upper Lake, CA 95485               PO Box 780408
Grand Rapids, MI 49501-2008
                                                                        Wichita, KS 67278-0408
                                     Sunrise Credit Services            Synchrony Bank
Sudhir M. Gokhale, MD, S.C.          Bankruptcy Department              c/o Recovery Management Systems
10522 S Cicero, Ste 2D               P.O. Box 9100                      Corp.
Oak Lawn, IL 60453                   Farmingdale, NY 11735              25 S.E. 2nd Avenue, Suite 1120
                                                                        Miami, FL 33131-1605
System Parking, Inc                  TCF Bank                           Title Max
1641 W Harrison                      800 Burr Ridge Parkway             7821 W Belmont Ave
Chicago, IL 60612                    Burr Ridge, IL 60527               Elmwood Park, IL 60707
Title Max                            TitleMax of Illinois, INC. d/b/a   Transworld Systems Inc
Legal Department                     TitleMax                           Bankruptcy Department
15 Bull Street                       15 Bull Street, Suite 200          1375 E Woodfield Rd #110
Savannah, GA 31401                   Savannah, GA 31401                 Schaumburg, IL 60173
United Pain Services                 United Recovery Systems            University of Chicago Physicians
PO Box 129                           PO Box 722910                      75 Remittance Dr, Ste 1385
Plainfield, IL 60544-0129            Houston, TX 77272-2910             Chicago, IL 60675-1385
Village of Alsip RLPEP               Village of Evergreen Park          Vista B
Payment Center                       James T Gately Attorney At Law     Post Office Box 556
PO Box 76935                         8233 W 185th Street                Charleston
Cleveland, OH 44101-6500             Tinley Park, IL 60487              NEVIS WEST INDIES
Carita M. Gamble                     Johnson, Blumberg & Associates
11441 S Peach Tree Ln                230 W. Monroe Street, Ste. 1125
Alsip, IL 60803                      Chicago, IL 60606




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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 IN RE:                                             )     Chapter         13
                    Carita Gamble                   )     No.             15-16910
                                                    )     Judge           Cox
                                            Debtor. )     Trustee         Vaughn


             DEBTOR’S MOTION TO MODIFY CONFIRMED CHAPTER 13 PLAN

         Carita Gamble (“Debtor”), by and through his attorney, Law Office of Thomas W. Lynch,
and the undersigned attorney, moves this Court for an order modifying the plan previously confirmed
by this Court (“Plan”). In support of this Motion, the Debtor states the following:
1)       On May 12, 2015, Debtor filed a voluntary petition under Chapter 13 of the U.S. Bankruptcy
Code.
2)       On August 17, 2015, this Court confirmed the Plan proposed by Debtor to pay the trustee
$275.00 per month, paying a 100% dividend to allowed secured and priority unsecured claims, and a
minimum 5% dividend to allowed non-priority unsecured claims.
3)       According to the terms of the confirmed Plan, under Section E5(a), Seterus was to be paid a
total amount of $6,000.00 for mortgage arrears by the Standing Trustee. Seterus did not file a proof
of claim in the Debtor’s case.
4)       On February 23, 2017, Seterus granted Debtor a loan modification regarding her mortgage on
her residence located at 11441 S Peach Tree Ln Alsip, IL 60803. See loan modification documents
attached as Exhibit A.
5)       On or around July 19, 2017, Seterus, through their attorneys, contacted Debtor’s counsel to
inquire about the Debtor modifying the confirmed Chapter 13 Plan to remove the mortgage arrears
because there were no mortgage arrears after the loan modification. Since Seterus did not file a proof
of claim in this case, they could not address the arrearage themselves.
6)       On July 20, 2017, the Standing Trustee filed a Motion to Dismiss for alleged default in
payments.
7)       The Debtor states that that she fell behind in her payments to the Standing Trustee due to the




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      following unexpected causes:
      a) Her car was damaged in an accident and insurance did not cover the repairs. As a result
          Debtor incurred expenses for the repair of her vehicle.
      b) The Debtor was having health issues which resulted in additional expenses from doctor visits,
          medical diagnostic tests and medications to treat her illness.
8)        The Debtor is able to make ongoing payments, but she is unable to catch up on the trustee
      arrears.
9)        The Debtor made a payment of $275.00 during the pendency of the Trustee’s Motion to
      Dismiss. See printout of trustee’s site showing receipt of funds attached as Exhibit B.
10)       The Debtor has made payments of $6,650.00 during the 28 months of the pendency of this
      case.
11)       The Debtor proposes that as a result of the loan modification with Seterus, this Court enter an
      Order modifying the Plan by reducing the Section E5(a) arrearage amount to $277.40 (the amount
      paid to Seterus by the Trustee prior to the loan modification dated February 23, 2017.)
12)       Debtor also proposes that her current default be deferred to the end of the plan, and proposes
to continue with her monthly payments starting with the payment that comes due in October 2017.
The Debtor’s Chapter 13 Plan, as it stands, will comply with the original proposed terms of paying
100% to all secured and priority unsecured claims, and a 5% dividend to all unsecured claims.
13)       Pursuant to section 1329 of the U.S. Bankruptcy code, the Court may modify the plan upon
      request of the Debtor, to suspend, extend or reduce the time for such payments, or to modify other
      terms of the Plan.
14)       The plan as modified complies with the requirements of sections 1322 and 1325 of the U.S.
      Bankruptcy Code.




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       WHEREFORE, for the foregoing reasons, Debtor respectfully requests that this Court
authorize a modification of Debtor’s plan deferring the default accrued through September 25, 2017
to the end of her plan, reducing the Section E5(a) arrearage amount to $277.40, and for such other
relief that this Court deems just and proper under the circumstances.


                                             Respectfully submitted,
                                             Carita Gamble

                                             By: /s/ Thomas W. Lynch         _
                                                    her attorney
Thomas W. Lynch #6194247
Law Office of Thomas W. Lynch
9231 S Roberts Road
Hickory Hills, IL 60457
Tel: 708-598-5999
Fax: 708-598-6299




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